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                                UNITED STATES DISTRICT COURT
 6
                                       DISTRICT OF NEVADA
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 8   ANTHONY FESTA,
                                                           Case No.: 2:17-cv-00850-APG-NJK
 9          Plaintiff(s),
                                                                         ORDER
10   v.
                                                                     [Docket No. 125]
11   BRIAN SANDOVAL, et al.,
12          Defendant(s).
13         Pending before the Court is Plaintiff’s motion for extension. Docket No. 125. Defendants
14 filed a response in partial opposition and Plaintiff filed a reply. Docket Nos. 128, 129. The motion
15 is properly resolved without a hearing. See Local Rule 78-1.
16         The Court hereby ORDERS Defendants to file a response to the fourth amended complaint
17 by January 21, 2021.
18         Given that the parties agree that an extension is warranted, the Court ORDERS Plaintiff
19 and defense counsel to meet-and-confer telephonically or by video, and to file a stipulation with
20 proposed deadlines by January 28, 2021.
21         Consistent with the above, Plaintiff’s motion is GRANTED in part and DENIED in part.
22         IT IS SO ORDERED.
23         Dated: January 11, 2021
24                                                              ______________________________
                                                                Nancy J. Koppe
25                                                              United States Magistrate Judge
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